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FoR THE WEsTERN DISTRICT oF TENNESSEE£§»,;¢¢?~ 199 3 Oc-_~
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UNiTED sTATEs oF AMERICA, § ’
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Plaintiff, g
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VS. § Civ. No. 04-1058-T/An
q Crim. NO. 99-10005-T
HAROLD LONG, g
t
Defendant. §

 

ORDER DENYING MOTION FOR RECONSIDERATION

 

Defendant Harold Long filed a pro se motion pursuant to 28 U.S.C. § 2255 on l\/larch 24,
2004. On August 5, 2005, the Court issued an order transferring the motion to the Sixth Ci.rcuit
Court of Appeals, pursuant to 28 U.S.C. §2244(b)(3), as a second or successive § 2255 motion. §
ln re Sirns, ] l l F.3d 45, 47 (6th Cir. 1997) (per curiam) (unauthorized second or successive § 2255
motion should be transferred to Court of Appeals). On August 19, 2005, the defendant filed a
motion for reconsideration, Which the Court construes as a motion to alter or amend the judgment
under Federal Rulc of Civil Procedure 59(e).

The purpose of Rule 59(e) is to allow a district court to correct its own mistakesl Mite_y_.
NeW Hamnshire Det)t. of Emnlovment Sec., 455 U.S. 445, 450 (1982). lt “is not intended to
relitigate matters already decided by the Court but, rather, is designed to correct manifest errors of
fact or law Which led to the entry ofjudgment.” Windsor v. A F ederal Executive Agency, 614 F.

Supp. 1255, 1264 (M.D. Tenn. 1983), afd, 767 F.2d 923 (6th Cir. 1985). The granting ofa motion

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under Rule 59(e) is within the sound discretion of the district court. Mcl\/lahon v. Libbev-Owens»
Ford Co., 870 F.2d 1073, 1078 (6‘h Cir. 1989).

Long asserts that the Court should not have treated his § 225 5 motion as second or successive
because the purpose of his original § 2255 motion Was to reinstate his right to a direct appeal. The
Court addressed this issue extensively in the August 5 order. The Court recognized that there is a
split of authority regarding whether the § 2255 clock is reset to zero when the only issue raised in
the original § 2255 was counsel’s failure to perfect a direct appeal and the motion was granted to
allow reentry of the criminal judgment Cornpare, eggs In re Goddard, 170 F.3d 435, 438 (4th Cir.
1999) with United States v. Orozco-Ramirez, 211 F.3d 862, 866-71 (5th Cir. 2000).

Notvvithstanding the split of authority on this issue, the Court determined that the present
§ 2255 motion is second or successive because Long’s original § 2255 raised issues in addition to
counsel’ s failure to perfect a direct appeal. Those additional issues were addressed on the merits and
denied Thus, the case was subject to transfer under 28 U.S.C. § 2244(b)(3). Long has offered no
arguments in his motion for reconsideration that persuade the Court to modify that ruling.

The motion for reconsideration is DENIED.

11 IS SO ORDERED.

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S D. TODD
TED STATES DISTRICT JUDGE

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DATE

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DISTRICT oURT - WESTENR D"ISRICT oF TNNESSEE

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This notice confirms a copy of the document docketed as number ll in
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Harold Long

16421-076

FCl l\/lemphis

P.o. BoX 34550

l\/lemphis7 TN 38184--055

Honorable .l ames Todd
US DISTRICT COURT

